Case 2:20-cv-10218-NGE-MJH ECF No. 23, PageID.502 Filed 07/09/21 Page 1 of 32




                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

ANTOINETTE BUGGS,

      Plaintiff,

v.                                  CASE NO. 20-CV-10218

FCA US, LLC, a Delaware Limited     HON. NANCY G. EDMUNDS
Liability Company, and DONNA
LANGFORD REED, an individual,

      Defendants.

_________________________________________________________________________

       PLAINTIFF’S RESPONSE TO DEFENDANT FCA’S MOTION FOR
                     SUMMARY JUDGMENT

      NOW COMES Plaintiff, by and through his attorneys, and for his Response

to Defendant FCA’s Motion for Summary Judgment respectfully request this

Honorable Court rule in Plaintiff’s favor and DENY Defendant’s Motion for

Summary Judgment for the reasons set forth in the Brief accompanying this

Motion.

                                          Respectfully submitted:

                                          /s/ Stephen M. Lovell
                                          Stephen M. Lovell (P80921)
                                          Attorneys for Plaintiff
                                          645 Griswold Street, Ste. 4100
                                          Detroit, Michigan 48226
                                          (313) 965-5555 /f (313)965-5556
                                          stephen@ecllawfirm.com

July 9, 2021
Case 2:20-cv-10218-NGE-MJH ECF No. 23, PageID.503 Filed 07/09/21 Page 2 of 32




                                      TABLE OF CONTENTS



TABLE OF AUTHORITIES.....................................................................................ii

STATEMENT OF ISSUES PRESENTED..............................................................iv

CONTROLLING AND MOST APPROPRIATE AUTHORITY.............................v

I.      STATEMENT OF FACTS..............................................................................1

        A. Plaintiff’s Job History................................................................................1

        B. Plaintiff’s Medical Issues and Disability....................................................1

II.     STANDARD OF REIVEW..........................................................................13

III.    ARGUMENT................................................................................................14

        A. Defendant FCA Failed to Accommodate Plaintiff...................................14

                 1. Plaintiff’s Carpal Tunnel Syndrome Qualifies As A Disability.....18

                 2. Plaintiff Was Qualified For Her Position........................................19

                 3. Plaintiff Requested To Be Accommodated And Her Employer
                    Failed To Provide A Necessary Accommodation...........................20

        B. Plaintiff Can Establish Disability Discrimination and Retaliation...........22

                 1. Plaintiff Suffered An Adverse Employment Action.......................23

                 2. Plaintiff Engaged In Known Protected Activity.............................24

                 3. Defendant’s Actions Were Pretext..................................................24

IV.     CONCLUSION.............................................................................................25

PROOF OF SERVICE.............................................................................................26




                                                         i
Case 2:20-cv-10218-NGE-MJH ECF No. 23, PageID.504 Filed 07/09/21 Page 3 of 32




                                TABLE OF AUTHORITIES

Cases
Albertson, Inc. v. Kirkingburg, 527 U.S. 555 (1999)..............................................16

Anderson v. Liberty Lobby, Inc., 477 U.S. 242 (1986)............................................13

Bryson v. Regis Corp., 498 F.3d 561 (6th Cir. 2007) .............................................22

Celotex Corp. v. Catrett, 477 U.S. 317 (1986)........................................................13

Cummings v. Dean Transp., Inc., 9 F. Supp. 3d 795 (E.D. Mich. 2014)................20

Dietelbach v. Ohio Edison Co., 1 Fed. App’x 435 (6th Cir. 2001).........................20

Donald v. Sybra, Inc., 667 F.3d 757 (6th Cir. 2012) ..............................................15

EEOC v. Prevo's Family Mkt., Inc., 135 F.3d 1089 (6th Cir. 1998).......................14

Estate of Mauro v. Borgess Med. Cen., 137 F.3d 398 (6th Cir. 1998)....................15

Feick v County of Monroe, 229 Mich App 335 (1998)...........................................23

Hendricks-Robinson v Excel Corp, 154 F3d 685 (CA 7, 1998)........................16, 20

Howard v Mich Dep't of Corrections, 2013 Mich. App. LEXIS 844 (2013)..........16

Hurtt v. International Services, Inc., 627 Fed. App’x 414 (6th Cir. 2015) ......17, 23

International Bhd of Teamsters v United States, 431 US 324 (1997).....................23

Johnson v Kroger Co, 319 F3d 858 (6th Cir 2003).................................................23

Keller v BD of Educ., 182F. Supp. 2d 1148 (D.N.M. 2001)...................................18

Lewis v. Humboldt Acquisition Corp., 681 F.3d 312 (6th Cir. 2012)..................... 22

Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574 (1986)..............13

McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973) ..............................22, 23


                                                   ii
Case 2:20-cv-10218-NGE-MJH ECF No. 23, PageID.505 Filed 07/09/21 Page 4 of 32




Peden v. City of Detroit, 470 Mich. (2004) ............................................................23

Richards v American Axle & Manuf'g, Inc, 84 F. Supp. 2d 862 (ED MI, 2000)....16

Rorrer v. City of Stow, 743 F.3d 1025 (6th Cir. 2014) ...........................................22

Sanchez v Lagoudakis, 440 Mich. 496; 486 N.W.2d 657 (1992)............................18

School Bd of Nassau Co v Arline, 480 U.S. 273 (1987)..........................................17

Smith v. Chrysler Corp., 155 F.3d 799 (6th Cir. 1998)...........................................14

Spees v. James Marine, Inc., 617 F.3d 380 (6th Cir. 2010)....................................23

Sutton v. United Air Lines, Inc., 527 U.S. 471 (1999).............................................16

Swann v. Washtenaw County, 221 F. Supp. 3d 936 (E.D. Mich 2016) ..................15

Taylor v Principal Financial Group, Inc, 93 F3d 155 (CA 5, 1996)......................16

Whitfield v. Tennessee, 629 F.3d 253 (6th Cir. 2011) ............................................17

Wilson v. Chrysler Corp., 172 F.3d 500 (7th Cir. 1999).........................................15

Statutes
42 U.S.C. § 12101. .................................................................................................17
MCL 37.1103(d)(i)(A) ............................................................................................17
MCL 37.1103(e) .....................................................................................................18


Other Authorities
29 C.F.R. § 1630.2(k)(1).........................................................................................17
Fed. R. Civ. P. 56 ....................................................................................................13




                                                           iii
Case 2:20-cv-10218-NGE-MJH ECF No. 23, PageID.506 Filed 07/09/21 Page 5 of 32




                   STATEMENT OF ISSUES PRESENTED

1. Should Plaintiff’s failure to accommodate claims under the ADA and PWDCRA
be dismissed where Plaintiff is disabled, qualified for her position, and was denied
a reasonable accommodation?

Plaintiff answers: No

2. Should Plaintiff’s discrimination claims under the ADA and PWDCRA be
dismissed where Plaintiff was disabled, otherwise qualified for her position, and
she can demonstrate that but for her carpal tunnel syndrome she would not have
suffered an adverse employment action?

Plaintiff answers: No

3. Should Plaintiff’s retaliation claims under the ADA and PWDCRA be dismissed
where there is evidence that but for Plaintiff’s protected activity FCA would not
have taken an adverse action against Plaintiff?

Plaintiff answers: No

4. Should Plaintiff’s discrimination and retaliation claims under the ADA and
PWDCRA be dismissed where Plaintiff can pretext?

Plaintiff answers: No




                                         iv
Case 2:20-cv-10218-NGE-MJH ECF No. 23, PageID.507 Filed 07/09/21 Page 6 of 32




       CONTROLLING AND MOST APPROPRIATE AUTHORITY

Estate of Mauro v. Borgess Med. Cen., 137 F.3d 398 (6th Cir.)

Hurtt v. International Services, Inc., 627 Fed. App’x 414 (6th Cir. 2015)

Hendricks-Robinson v Excel Corp, 154 F3d 685 (CA 7, 1998)

Keller v BD of Educ., 182F. Supp. 2d 1148 (D.N.M. 2001)

McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973)

Richards v American Axle & Manuf'g, Inc, 84 F. Supp. 2d 862 (ED MI, 2000)

Rorrer v. City of Stow, 743 F.3d 1025 (6th Cir. 2014)

School Bd of Nassau Co v Arline, 480 U.S. 273 (1987)

Spees v. James Marine, Inc., 617 F.3d 380 (6th Cir. 2010)




                                         v
Case 2:20-cv-10218-NGE-MJH ECF No. 23, PageID.508 Filed 07/09/21 Page 7 of 32




                            I. STATEMENT OF FACTS

      A. Plaintiff’s Job History

      Plaintiff began working as a Temporary Part-Time employee (“TPT”) for

FCA in June 2015. (Ex. 1, Deposition Transcript of Plaintiff at p. 24). Plaintiff

worked on the assembly line at JNAP. Id. As a TPT, Plaintiff did not have regular

employee status or seniority.2 (Ex. 1 at pp. 25-26). She served as a replacement

worker for employees who were absent or on vacation. Id. While a TPT, Plaintiff

was primarily assigned to Team 41 on the door line. Id. at pp. 26-27. Team 41

encompassed about six or seven different assembly jobs. Id. at p. 28. As a TPT,

Plaintiff usually did the “panel secure” job, which required her to use hand drills to

apply screws to secure the panel to the door. Id. At times, she also performed a

door tester job that required use of a hand drill. Id. at pp. 29, 107.

      Plaintiff received a promotion to a regular full-time employee as of March 5,

2018. Id. at p. 36.     Defendant Donna Langford Reed first became Plaintiff’s

supervisor on or about February 28, 2018 and supervised her until approximately

June 5, 2019. Id. at p. 193. Defendant Reed subjected Plaintiff to disability

discrimination, which is explained more fully below. Id. at p. 39.

      B. Medical Issues and Disability

      Near the end of July, 2016, Plaintiff began experiencing issues with pain in

her hands. Id. at p. 50. She had no such issues before her employment at FCA. Id.


                                            1
Case 2:20-cv-10218-NGE-MJH ECF No. 23, PageID.509 Filed 07/09/21 Page 8 of 32




p. 26. After Plaintiff began experiencing issues with her hands and upon returning

to work from a brief absence, she provided the JNAP Medical Department with a

return to work note from her doctor dated July 27, 2016. (Ex. 1 at p. 50; Ex. 2 –

Return to Work Note 7/27/16). The note said that Plaintiff might have carpal

tunnel syndrome and should be restricted from doing any “gripping, drilling, and

using hand tools” until November 15, 2016. Id. The Medical Department

accordingly put Plaintiff’s restrictions into the Company’s computer system that

tracks employees’ work restrictions and Plaintiff’s supervisor is informed of the

restriction. (Ex. 1 at p. 50; Ex. 3, Deposition Transcript of Defendant Reed at p.

12).

       As a result of her restrictions, Plaintiff was unable to perform the functions

of the panel secure job and given a 30 day leave because there were no positions

available for her that would meet her restrictions. (Ex. 1 at p. 51). A few weeks

later, Plaintiff went to her doctor and requested that she be cleared to return to

work and was diagnosed with bilateral carpel tunnel syndrome. (Ex. 1 at pp. 52-53;

Ex. 4, Return to Work Note 08/19/16).

       Plaintiff returned to work but quickly determined that she still could not do

any lifting or use hand tools and therefore informed the Company that she was

unable to perform any of the available assembly jobs due to her disability. (Ex. 1 at




                                          2
Case 2:20-cv-10218-NGE-MJH ECF No. 23, PageID.510 Filed 07/09/21 Page 9 of 32




p. 55). Plaintiff was told by her supervisor that she could not return to work until

she had surgery for her disability. Id.

      While off work, Plaintiff submitted a request for intermittent FMLA leave in

August, 2016. (Ex. 1 at p. 57; Ex. 5, 8/23/16 FMLA). Plaintiff sought intermittent

FMLA leave of two to three episodes per month and one day per episode for

symptoms related to her previous stroke. The Company approved Plaintiff’s

intermittent FMLA leave request from June 10, 2016 until December 31, 2016

based on “a serious health condition that makes you unable to perform the essential

functions of [her] job”; however, she never needed to use FMLA leave during that

time. (Ex. 1 at pp. 59-60; Ex. 5).

      Plaintiff had two surgeries, one on each hand in October and in December,

2016. (Ex. 1 at p. 60). Plaintiff returned to work from her surgeries on January 30,

2017. (Ex. 1 at p. 61; Ex. 6, 1/26/17 Physical Status Report). Upon her return to

work, Plaintiff presented with restrictions on her right hand but no work

restrictions due to the type of work she was doing. (Ex. 6).

      In June of 2017, Plaintiff again requested intermittent FMLA leave. (Ex. 1 at

p. 65; Ex. 7, 6/13/17 FMLA). Plaintiff’s request was denied because she was

ineligible for FMLA leave. She had not worked the requisite 1250 hours in the

preceding twelve (12) months. Id. Plaintiff was taken off of her job doing panel

secure and was moved to the rear door panel in July, 2017 which she had not been


                                          3
Case 2:20-cv-10218-NGE-MJH ECF No. 23, PageID.511 Filed 07/09/21 Page 10 of 32




medically evaluated to do and which went against the restrictions to her right hand.

(Ex. 1 at pp. 67, 68, 73).   Plaintiff ended up further injuring her hand doing the

rear door panel job. (Ex. 1 at pp. 66-75; Ex. 8, Work Injury Statement). However,

there are no records of Plaintiff having any issues performing her job on Team 41

following the July, 2017 injury.

      FCA hired Plaintiff to a regular full-time job effective March 5, 2018. (Ex. 1

at p. 36).    Defendant Donna Langford Reed became Plaintiff’s immediate

supervisor just a few days earlier, on February 28, 2018. (Ex. 1 at p. 39). From the

outset, Defendant Reed made Plaintiff work on jobs that were outside of her

abilities due to the carpel tunnel she suffered in both hands. (Ex. 9, 03/12/18

Statement). In her statement, Plaintiff claimed that on March 10, 2018, Reed

moved her from Team 41 on the door line to Team 38, working on a window seal

job – a job she could not do because of her carpal tunnel surgery and she informed

Defendant Reed of this. (Ex. 1 at p. 85; Ex. 9). Plaintiff has restrictions that

prevented her from doing the job. (Ex. 1 at pp. 85-87).

      After attempting to work the window seal job on March 10, 2018, Plaintiff

went to the plant Medical Department and informed them that she has carpel tunnel

and told Defendant Reed that she was unable to do the job assigned to her. (Ex. 1

at pp. 88-91; Ex. 10 – Medical Encounters at p. 5). The Medical Department

provided her with wrist wraps, biofreeze, and over-the-counter medication. Id.


                                         4
Case 2:20-cv-10218-NGE-MJH ECF No. 23, PageID.512 Filed 07/09/21 Page 11 of 32




Plaintiff continued to try to do the job but was having difficulty and medical could

not offer her braces for her wrists. (Ex. 1 at p. 91; Ex. 9). A union steward and

union safety rep suggested that Plaintiff go home to get her braces so that she could

do the job. (Ex. 1 at p. 92; Ex. 9).   Plaintiff then overhead Defendant Reed telling

other management employees that she was going to suspend Plaintiff for 30 days if

she required any restrictions. (Ex. 1 at p. 93; Ex. 9). When Plaintiff returned with

her braces, she was put on notice by Defendant Reed, which meant that Plaintiff

could be written up and subject to discipline if anything else happened. (Ex. 1 at p.

97; Ex. 9).

      The following day, Plaintiff was again put in Team 38 even though the job

caused her to have to go to medical the day before, Plaintiff informed Defendant

Reed that she could not do the job on Team 38 due to her carpel tunnel syndrome.

(Ex. 1 at p. 98; Ex. 9). Defendant Reed then sent Plaintiff home and no reason was

given for why Plaintiff was forced to leave and lose out on her pay for the day. Id.

Plaintiff continued to be harassed by Defendant Reed on a daily basis and felt she

was being forced to work in a hostile work environment. (Ex. 9).

      On March 15, 2018, Plaintiff was again put on a job that she was unable to

do due to her disability. (Ex. 11, 03/16/18 Statement). There were jobs available

for Plaintiff to do within her limitations and Plaintiff had worked various jobs with

little aggravation to her carpal tunnel. (Ex. 11).     After Plaintiff complained to


                                           5
Case 2:20-cv-10218-NGE-MJH ECF No. 23, PageID.513 Filed 07/09/21 Page 12 of 32




Defendant Reed that she could not do the job due to her disability, Plaintiff was put

on a two person job by herself, which she was also unable to do. Id. Plaintiff was

then moved to another job where she was being trained by another employee who

was doing half the job.        Id.   Even though Plaintiff was still being trained,

Defendant Reed informed her that she had to do the entire job herself, which she

was unable to do. Id. Plaintiff’s team leader even tried to tell Defendant Reed that

there were jobs available that Plaintiff could do but Defendant Reed refused to

move Plaintiff and put other employees in the open spots. Id. Plaintiff again had

to go to plant Medical Department on March 15, 2018 for the same complaint

related to her disability. (Ex. 10 at p. 5).

      When Plaintiff returned from medical, she was informed that Defendant

Reed intended to have her fired and would do so if Plaintiff continued to require

trips to the Medical Department while on probation. (Ex. 11). Plaintiff continued

to come into work and be assigned jobs by Defendant Reed that she was unable to

do. (Ex. 11).

      In order to try and protect herself after being informed of Defendant Reed’s

intention to have her fired, on March 16, 2018, Plaintiff presented the Medical

Department with a note from an urgent care center stating that she was restricted

from lifting more than 5 pounds for two weeks but that assembly and hand tools

were otherwise okay. (Ex. 12, 3/16/18 Doctor’s Note).          On March 26, 2018,


                                               6
Case 2:20-cv-10218-NGE-MJH ECF No. 23, PageID.514 Filed 07/09/21 Page 13 of 32




Plaintiff presented another doctor’s note indicating she could do “no gripping,

hand tools are okay, nothing over five pounds” for the period from March 26, 2018

through June 26, 2018 due to carpel tunnel syndrome. (Ex. 1 at pp. 100-01; Ex.

13, 3/26/18 Return to Work).

      Following the written restrictions, Plaintiff stayed on the panel secure job

after her union came to an agreement with Defendant FCA’s management and

Defendant Reed. (Ex. 1 at p. 115). However, on June 13, 2018, Plaintiff’s drill

stopped working, and Defendant Reed asked her to use a heavier, secondary drill to

do the panel secure job. (Ex. 1 at pp. 109-118; Ex. 14, 06/14/18 Statement).

Plaintiff refused to use the drill because it was against her restrictions and

Defendant Reed told Plaintiff that she was going to kick her off the team. (Ex. 1 at

pp. 111-112; Ex. 14). Defendant Reed attempted to take Plaintiff off of the line

and send her to medical and Plaintiff had to get her union steward involved. (Ex. 1

at pp. 112-113; Ex. 14).

       The following day, Plaintiff was working her job when Defendant Reed told

Plaintiff that she needed to go to medical and that there was no work available for

her. (Ex. 1 at pp. 114; Ex. 14). Plaintiff explained that she could do her job and

did not need to go to medical. (Ex. 1 at pp. 114; Ex. 14). Plaintiff had the same

restrictions since March 26, 2018. (Ex. 13). Plaintiff was then told there would be

no job available for her for 30 days. (Ex. 1 at pp. 118). After being told she could


                                         7
Case 2:20-cv-10218-NGE-MJH ECF No. 23, PageID.515 Filed 07/09/21 Page 14 of 32




not work for 30 days, Plaintiff returned to her doctor and he removed the no-

gripping restriction. Plaintiff’s new restrictions provided for limited gripping up to

five hours a day, no heavy duty drills, and no lifting over five pounds. (Ex. 1 at p.

119; Ex. 15, 6/18/18 Return to Work). Plaintiff also applied for intermittent FMLA

leave related to carpal tunnel syndrome in June of 2018. (Ex. 1 at p. 122-25; Ex.

16, 6/20/18 FMLA). She was approved for intermittent leave of up to two days per

week with a duration of up to three days per episode. (Ex. 15).

      Defendant Reed’s harassment of Plaintiff continued over the next several

months.    On August 23, 2018, Plaintiff was accused by Defendant Reed of

damaging a panel and put on notice. (Ex. 1 at p. 126; Ex. 17, 08/23/18 Statement).

Plaintiff explained that she could not have caused the damage and that she did not

know who did. (Ex. 1 at p. 126). Plaintiff was also harassed about how she did

her job even though other employees did the job the exact same way and were not

subject to harassment by Defendant Reed. (Ex. 18, 09/13/18 Statement).

      Plaintiff provided Defendant FCA with another doctor’s letter with slightly

different restrictions in September, 2018. (Ex. 1 at p. 156; Ex. 19, 9/21/18 Return

to Work). Plaintiff’s restrictions were now “activity as tolerated, not >5 lbs, limited

hand tools.” Id.     Plaintiff had complained about the harassment by Defendant

Reed and Defendants’ failure to follow her restrictions to Arkena Willis from

Human Resources. (Ex. 1 at p. 151). After nothing was done by Defendant FCA


                                          8
Case 2:20-cv-10218-NGE-MJH ECF No. 23, PageID.516 Filed 07/09/21 Page 15 of 32




to assist Plaintiff and her harassment continued, Plaintiff filed an EEOC Charge

alleging that she was being harassed by her supervisor and that she had submitted a

reasonable accommodation request after the litany of harassment she had suffered.

(Ex. 1 at pp. 149-152; Ex. 20, EEOC Charge). Plaintiff told Ms. Willis that she

had filed the EEOC complaint and again explained the various issues with

Defendant Reed. (Ex. 1 at p. 152).

      Plaintiff continued to have issues with Defendant Reed after filing her

EEOC complaint and speaking with Ms. Willis. Plaintiff had been working the

same job for months with no issues. Id. at p. 160. However, Defendant FCA

switched the drill that was used for the panel job and the new drill hurt Plaintiff

and was no longer within her restrictions. (Ex. 1 at p. 161; Ex. 21, 11/14/18

Statement). Once Plaintiff informed Defendant Reed that the drill hurt her hand

and was outside of her restrictions, Defendant Reed began putting Plaintiff into the

panel secure job more often. (Ex. 21). Plaintiff had to go to medical on November

3 and 8, 2018 due to the drill being too heavy and causing her pain. (Ex. 10 at p.

8).

      On November 9, 2018, Plaintiff was working on the door tester job because

of the new drill violating her restrictions. (Ex. 1 at p. 160; Ex. 21). Defendant

Reed brought another employee in to do the door tester job and put Plaintiff back

on the door panel secure job, which required her to use a drill outside of her


                                         9
Case 2:20-cv-10218-NGE-MJH ECF No. 23, PageID.517 Filed 07/09/21 Page 16 of 32




restrictions. (Ex. 1 at p. 160; Ex. 21). The operations manager had to be involved

to resolve the situation and a union grievance was filed for a hostile work

environment due to Defendant Reed’s behavior. (Ex. 21; Ex. 22, Grievance).

      In March of 2019, Plaintiff provided another doctor’s note continuing her

restrictions of “limited use” of vibratory tools and no lifting anything over 5

pounds. (Ex. 1 at p. 169; Ex. 23, 3/20/19 Return to Work). Plaintiff also continued

to have approved intermittent FMLA leave that she used for absences and to leave

mid-shift, if her hands/wrists were bothering her. (Ex. 1 at pp. 171-173).

      Shortly after Plaintiff was approved for her intermittent FMLA leave,

Defendant Reed would delay her in being able to leave. This happened on multiple

occasions where Plaintiff was delayed anywhere from thirty minutes to several

hours. (Ex. 1 at pp. 170, 178, 179). While Defendant FCA claims that it was

Defendant Reed’s friend who failed to inform her of Plaintiff’s requests, this is

contradicted by the fact that even when Plaintiff told Defendant Reed directly that

she needed to leave, she was still delayed.        Id. at p. 179.     Plaintiff even

complained about this to Ms. Willis in Human Resources who informed the lead

labor relations supervisor that Defendant Reed had been delaying allowing

Plaintiff to leave for FMLA. (Ex. 24, Email Regarding Leave). And although Ms.

Willis and Ms. Capers claimed that this issue was discussed with Defendant Reed,

Defendant Reed claims that no one at FCA ever spoke with her about Plaintiff’s


                                         10
Case 2:20-cv-10218-NGE-MJH ECF No. 23, PageID.518 Filed 07/09/21 Page 17 of 32




complaint or at any time about employees having to wait to go on FMLA. (Ex. 3

at p. 15; Ex. 25, Deposition Transcript of Willis at p. 14; Ex. 26, Deposition

Transcript of Capers at pp. 23-25).

      While working in the Quality department, Plaintiff re-applied for

intermittent FMLA leave on or about July 31, 2019. Her request was for absences

up to three times per week with a duration of up to 1-2 days per episode and for

appointments every 2-3 months. (Ex. 1 at p. 185; Ex. 27, 8/1/19 FMLA). On

August 1, 2019, Sedgwick, the Company’s Third Party FMLA Administrator, sent

Plaintiff a letter regarding her FMLA claim. (Ex. 1 at p. 185; Ex. 23). The letter

informed Plaintiff that her treating provider had not properly completed the

Provider Certification because he failed to identify a duration for the leave.

Sedgwick advised Plaintiff that her provider needed to provide the required

information by August 11, 2019 or her claim may be denied. Id.

      A corrected FMLA Certification was faxed to Sedgwick on August 11,

2019. (Ex. 1 at pp. 185-91; Ex. 28, New FMLA Paperwork). The form was an

exact duplicate of the prior certification except that it included a duration through

December 28, 2019 and bore the initials “RW” next to the duration entries and next

to the doctor’s signature with a new date of “08-10-2019.” Id. After checking with

Dr. Walker, Sedgwick notified Anne Stebbins that Dr. Walker denied making the

edits to Plaintiff’s form or initialing the changes. (Exhibit 29, Deposition


                                         11
Case 2:20-cv-10218-NGE-MJH ECF No. 23, PageID.519 Filed 07/09/21 Page 18 of 32




Transcript of Stebbins at pp. 15-18). However, Ms. Stebbins never even inquired

to Sedgwick as to where the fax came from or whether it could find out. Id. at p.

16.

      Stebbins alerted JNAP Labor Relations about the information received from

Sedgwick and prepared questions for them to ask Plaintiff about her role in the

matter. (Ex. 29 at p. 16; Ex. 30, Interview Notes). Plaintiff was interviewed by

Arkena Willis of JNAP Labor Relations. (Willis, p. 16-17; Ex. 26). Plaintiff

denied that she made the changes to the form and stated that the forms were left at

the doctor’s office. (Ex. 30). Plaintiff was suspended following her interview on

August 24, 2019 while her responses were reviewed. (Ex. 31, Suspension).

      Defendant FCA concluded that Plaintiff altered the FMLA form. Her

employment was terminated on August 28, 2019 for submitting a false FMLA

Certification, which violates Company Standards of Conduct. Specifically

Standard No. 1 prohibits “providing false and/or misleading information to the

Company.” (Ex. 1 at p. 194; Ex. 32, Termination Letter). The termination decision

was made by JNAP Labor Relations Supervisor Shera Capers after conferring with

Stebbins at Corporate. (Ex. 26 at p. 20).     However, the only reason Stebbins

articulated for the conclusion that Plaintiff submitted the paperwork was that the

doctor stated he did not make changes, which has not informative of where the

papers were submitted from. (Ex. 29 at p. 19). In fact, Defendant FCA never


                                        12
Case 2:20-cv-10218-NGE-MJH ECF No. 23, PageID.520 Filed 07/09/21 Page 19 of 32




inquired into where the fax was received from or whether they could even find out.

Id. at pp. 16-17.

                          II. STANDARD OF REVIEW

       Summary judgment is appropriate "if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law." Fed. R. Civ. P. 56(a). A dispute is "genuine" when "the evidence is

such that a reasonable jury could return a verdict for the nonmoving party."

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248; 106 S. Ct. 2505, 91 L. Ed. 2d

202 (1986). A fact is "material" only if its resolution affects the outcome of the

suit. Id.

       On summary judgment, a court must view the evidence and draw all

reasonable inferences in favor of the nonmoving party. Matsushita Elec. Indus. Co.

v. Zenith Radio Corp., 475 U.S. 574, 587; 106 S. Ct. 1348, 89 L. Ed. 2d 538

(1986). The moving party has the burden of showing an absence of evidence to

support the nonmoving party's case. Celotex Corp. v. Catrett, 477 U.S. 317, 325;

106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986).

       While Defendant gives brief gives token acknowledgment of these

principles, it then proceeds to do violence to all of them. Instead of presenting the

evidence in a light favorable to Plaintiff, Defendant has combed through the




                                         13
Case 2:20-cv-10218-NGE-MJH ECF No. 23, PageID.521 Filed 07/09/21 Page 20 of 32




record, extracted only those facts favorable to its arguments, and twisted all of

those facts in a manner beneficial to its own position.

                                 III. ARGUMENT

      Plaintiff alleges disparate treatment (Counts I and IV), retaliation (Counts II

and V), and failure to accommodate (Counts III and VI) in violation of the ADA

and PWDCRA.

A. Defendant FCA Failed To Accommodate Plaintiff

      "'The thesis of the [ADA] is simply this: That people with disabilities ought

to be judged on the basis of their abilities; they should not be judged nor

discriminated against based on unfounded fear, prejudice, ignorance, or

mythologies; people ought to be judged on the relevant medical evidence and the

abilities they have.'" Smith v. Chrysler Corp., 155 F.3d 799, 805 (6th Cir. 1998)

(quoting 136 Cong. Rec. S 7422-03, 7347 (daily ed. June 6, 1990) (statement of

Sen. Harkin)) (alteration in original). The ADA thus serves to "prohibit employers

from making adverse employment decisions based on stereotypes and

generalizations associated with the individual's disability rather than on the

individual's actual characteristics." EEOC v. Prevo's Family Mkt., Inc., 135 F.3d

1089, 1097 (6th Cir. 1998) (holding that an employer may require an HIV test for a

food-handling employee who works with knives as part of an individualized

inquiry into the existence of a health or safety risk). The PWDCRA “substantially


                                          14
Case 2:20-cv-10218-NGE-MJH ECF No. 23, PageID.522 Filed 07/09/21 Page 21 of 32




mirrors the ADA, and resolution of a plaintiff’s ADA claim will generally, but not

always, resolve the plaintiff’s PWDRA claim.” Donald v. Sybra, Inc., 667 F.3d

757, 764 (6th Cir. 2012); Swann v. Washtenaw County, 221 F. Supp. 3d 936, 940

(E.D. Mich 2016).

      The ADA mandates an individualized inquiry in determining whether an

employee's disability or other condition disqualifies him from a particular position.

In order to properly evaluate a job applicant on the basis of his personal

characteristics, the employer must conduct an individualized inquiry into the

individual's actual medical condition, and the impact, if any, the condition might

have on that individual's ability to perform the job in question. See, e.g., Estate of

Mauro v. Borgess Med. Cen., 137 F.3d 398 (6th Cir.) (conducting an

individualized inquiry into the plaintiff's specific situation to determine whether

HIV-positive surgical technician was otherwise qualified for his position despite

his medical condition), cert. denied, 525 U.S. 815, 119 S. Ct. 51, 142 L. Ed. 2d 39

(1998); Wilson v. Chrysler Corp., 172 F.3d 500, 505 (7th Cir. 1999)(stating that

"the ADA requires an individualized inquiry into the ability of the employee to

perform a particular job"). Indeed, the Supreme Court in recent cases has again

made clear that such an individualized determination -- one which focuses on the

medical condition's actual effect on the specific plaintiff -- lies at the heart of the

ADA. See Sutton v. United Air Lines, Inc., 527 U.S. 471, 119 S. Ct. 2139, 2147,


                                          15
Case 2:20-cv-10218-NGE-MJH ECF No. 23, PageID.523 Filed 07/09/21 Page 22 of 32




144 L. Ed. 2d 450 (1999) (holding that mitigating or corrective measures must be

taken into account in judging whether an individual possesses a disability because

doing otherwise would "run[] directly counter to the individualized inquiry

mandated by the ADA"); Albertson, Inc. v. Kirkingburg, 527 U.S. 555, 119 S. Ct.

2162, 144 L. Ed. 2d 518 (1999)(holding that the ADA imposes a statutory

obligation to determine the existence of disabilities on a case-by-case basis, based

upon the actual effect of the impairment on the life of the individual in question).

      An employee informing an employer of a need for accommodation triggers

an "employer's obligation to participate in the interactive process of determining

one." See Richards v American Axle & Manuf'g, Inc, 84 F. Supp. 2d 862, 872 (ED

MI, 2000), quoting Taylor v Principal Financial Group, Inc, 93 F3d 155, 165 (CA

5, 1996); Hendricks-Robinson v Excel Corp, 154 F3d 685, 693 (CA 7, 1998)(once

an employee informs employer of disability, the employer must engage in a

"flexible, interactive process . . . so that, together, they might identify the

employee's precise limitations and discuss accommodations which might enable

the employee to continue working.”); see also Howard v Mich Dep't of

Corrections, ___NW2d___; 2013 Mich. App. LEXIS 844, at *19-20 (Ct App, May

21, 2013)(an employee brought claims for disability discrimination under the ADA

and PWDCRA and after the Court analyzed the plaintiff’s ADA claim, including




                                          16
Case 2:20-cv-10218-NGE-MJH ECF No. 23, PageID.524 Filed 07/09/21 Page 23 of 32




the defendant’s failure to engage in an interactive accommodation process, it then

applied that same logic and holding to the plaintiff’s PWDCRA claim.)(Ex. 33).

       To establish a prima facie case of failure to accommodate, Plaintiff must

show that: (1) she is disabled within the meaning of the Act; (2) she is otherwise

qualified for the position, with or without reasonable accommodation; (3) her

employer knew or had reason to know about her disability; (4) she requested an

accommodation; and (5) her employer failed to provide the necessary

accommodation. Hurtt v. International Services, Inc., 627 Fed. App’x 414, 419

(6th Cir. 2015); Whitfield v. Tennessee, 629 F.3d 253, 259 (6th Cir. 2011).

        “Disability” is defined as a “physical or mental impairment that

substantially limits one or more of the major life activities of such individual.” 42

U.S.C.A. §12102(2)(A-B).1            Even if a person does not meet the definition of

“disability”, there are two other ways they can be protected under the act. First, an

individual is considered “disabled” if he or she has a record of an impairment that

substantially limits a major life activity. 29 CFR §1630.2(k)(1). When looking at

the “record of” inquiry, it is not relevant if the impairing condition is in remission

or under control. School Bd of Nassau Co v Arline, 480 U.S. 273, 107 S. Ct. 1123;

94 L. Ed. 2d 307 (1987).

1
  The PWDCRA defines disability as a “determinable physical or mental characteristic of an
individual, which may result from disease, injury, congenital condition of birth, or functional
disorder [that] substantially limits 1 or more of the major life activities of that individual.”
MC.L.A. § 37.1103(d)(I)(A).
                                              17
Case 2:20-cv-10218-NGE-MJH ECF No. 23, PageID.525 Filed 07/09/21 Page 24 of 32




      Second, if an individual does not meet the first two definitions of having a

disability, an individual will still be considered disabled if he or she is “regarded

as” being disabled. PWDCRA’s definition of a handicap includes "being regarded

as having a determinable physical or mental characteristic" that "substantially

limits 1 or more of the major life activities of that individual . . . ." MCL

37.1103(e)(emphasis added).       When an employer discriminates against an

employee because the employer perceives the employee as handicapped, the

employer is in violation of the PWDCRA. See Sanchez v Lagoudakis, 440 Mich.

496; 486 N.W.2d 657 (1992), (On Remand) 217 Mich. App. 535; 552 N.W.2d 472

(1996), rev'd on other grounds (After Remand) 458 Mich. 704; 581 N.W.2d 257

(1998).

      1.     Plaintiff’s Carpal Tunnel Syndrome Qualifies As A Disability

      Plaintiff will briefly touch on this issue as it is clear that the carpel tunnel

syndrome Plaintiff suffered from is a disability and that it clearly limits one or

more of Plaintiff’s major life activities. This is not a case of some benign health

issue or cancer remission where even then, Courts have found that there is a

question of fact whether a condition counts as a disability even if it is not actively

causing issues at the time of the adverse employment action. Keller v BD of Educ.,

182F. Supp. 2d 1148, 1155 (D.N.M. 2001)(finding genuine issues of material fact

as to whether former employee whose breast cancer was in remission was


                                         18
Case 2:20-cv-10218-NGE-MJH ECF No. 23, PageID.526 Filed 07/09/21 Page 25 of 32




substantially limited in the life activities of working, walking, and caring for

herself for a sufficient duration so as to be considered disabled, precluded

summary judgment on employee's ADA claim).

      In this case, Plaintiff’s carpal tunnel syndrome interfered with her ability to

get dressed, holding things, open doors, doing her hair, and cook. (Ex. 1 at p. 13).

At various times, Plaintiff was restricted from lifting more than five pounds,

“gripping”, and could not work at all for two full months due to her carpal tunnel

syndrome and its treatment.

      Further, there is certainly record of Plaintiff suffering from a disability or

was regarded as having a disability.       She went to the Defendant’s medical

department at least 19 times for issues related to her carpal tunnel, submitted

copious amounts of medical records to Defendant FCA, and informed Defendants

of her limitations and pains on an almost daily basis. She had to leave her job to

go to medical. At minimum, there is a question of fact whether Plaintiff was

disabled or had a record of disability.

      2. Plaintiff Was Qualified For Her Position.

      There is a question of fact whether Plaintiff was “otherwise qualified” for

the position. In order to be “otherwise qualified” for a job, an individual must

satisfy the requisite skill, experience, education and other requirements of the job

the individual holds or desires and be able, with or without reasonable


                                          19
Case 2:20-cv-10218-NGE-MJH ECF No. 23, PageID.527 Filed 07/09/21 Page 26 of 32




accommodation, to perform the essential functions of the job. Cummings v. Dean

Transp., Inc., 9 F. Supp. 3d 795, 801 (E.D. Mich. 2014). An employee “who

cannot perform the essential functions of a job is not qualified, and in such cases,

the ADA does not come into play.” Id. at 802 (citing Dietelbach v. Ohio Edison

Co., 1 Fed. App’x 435, 436-37 (6th Cir. 2001)).

      Plaintiff worked for Defendant for over three years while suffering from

carpal tunnel syndrome and being on various restrictions. When Plaintiff worked

on the line, Plaintiff could do three out of the four jobs for her team. (Ex. 1 at p.

146). Plaintiff was told that she could do her job as long as she could do at least

three out of the four jobs. Id. She worked for years without issue and was not

fired for an inability to do her job. It is ludicrous for Defendant FCA to now claim

that during that entire time, Plaintiff was unqualified.

      3.     Plaintiff Requested To Be Accommodated And Her Employer
             Failed To Provide A Necessary Accommodation

       Although Plaintiff must request and accommodation, “[a] request as

straightforward as asking for continued employment is a sufficient request for

accommodation.” Hendricks-Robinson v Excel Corp, 154 F3d 685, 694 (CA 7,

1998). In this case, Plaintiff submitted several restrictions from her doctors that

allowed her to do her job with certain accommodations, such as not using a heavy

duty drill and not lifting over five pounds. Plaintiff continued to want to work and

submitted paperwork to allow her to work as long as her restrictions were
                                          20
Case 2:20-cv-10218-NGE-MJH ECF No. 23, PageID.528 Filed 07/09/21 Page 27 of 32




accommodated.      Once she submitted the paperwork to return to work, this

triggered a duty for Defendant FCA to engage with Plaintiff in an interactive

accommodation process. See Richards v American Axle & Manuf'g, Inc, 84 F.

Supp. 2d 862, 872 (ED MI, 2000). This was never done in Plaintiff’s case.

       Instead, Plaintiff had to go in each day and argue with Defendant Reed

regarding being accommodated and involve the union and operations manager to

get her needs met. It is clear that when Plaintiff was able to work the jobs to which

she was restricted, she could easily do her job and meet its essential functions.

There were months where Plaintiff did her job without an issue. However, as

explained above, Defendants regularly failed to meet her accommodations and

would place her in jobs outside of her restrictions, which would cause Plaintiff to

complain and again have to seek medical.

       Further, Defendant FCA sent Plaintiff home on numerous occasions for

extended periods of time due to no work being available within her restrictions.

However, Defendant FCA never even engaged Plaintiff in an interactive process to

determine exactly what jobs she could do or what was available and, instead, left

the decision to Plaintiff’s line-level supervisor, who would send Plaintiff home on

a whim. There is a question of fact whether Defendant FCA failed to accommodate

Plaintiff.




                                         21
Case 2:20-cv-10218-NGE-MJH ECF No. 23, PageID.529 Filed 07/09/21 Page 28 of 32




B.    Plaintiff Can Establish Disability Discrimination And Retaliation

      Plaintiff claims she was disparately treated on the job and ultimately

terminated because of her disability. To establish a prima facie case of disparate

treatment discrimination, Plaintiff must prove: (1) she has a disability; (2) she is

otherwise qualified for her job with or without reasonable accommodation; and (3)

she suffered an adverse employment action because of her disability. Plaintiff’s

disability must be a “but for” cause of her adverse treatment and termination to

meet this third element. Lewis v. Humboldt Acquisition Corp., 681 F.3d 312, 321

(6th Cir. 2012) (en banc). To state a prima facie retaliation claim, Plaintiff must

show: (1) that she engaged in statutorily protected activity; (2) the employer knew

of that activity; (3) the employer took an adverse action against the Plaintiff; and,

(4) there was a causal connection between the protected activity and the adverse

action. Rorrer v. City of Stow, 743 F.3d 1025, 1046 (6th Cir. 2014); Bryson v.

Regis Corp., 498 F.3d 561 (6th Cir. 2007).

      If Plaintiff can meet each of the prima facie elements, the burden of

production shifts to the Defendant to articulate a legitimate, non-discriminatory

justification for the adverse employment action. McDonnell Douglas Corp. v.

Green, 411 U.S. 792 (1973). Several courts have stated that a plaintiff may

establish pretext by proving showing that (1) the reasons had no basis in fact; (2) if

they have a basis in fact, they were not the actual factors motivating the decision;


                                         22
Case 2:20-cv-10218-NGE-MJH ECF No. 23, PageID.530 Filed 07/09/21 Page 29 of 32




or (3) if they were factors, they were insufficient to justify the decision. Johnson v

Kroger Co, 319 F3d 858 (6th Cir 2003); Feick v County of Monroe, 229 Mich App

335, 343, 582 NW2d 207 (1998). The McDonnell Douglas prima facie case is

based on the conclusion that discriminatory motive “can in some situations be

inferred from the mere fact of differences in treatment.” International Bhd of

Teamsters v United States, 431 US 324, 335 n15 (1997). If Defendant meets this

requirement, the burden shifts back to Plaintiff to show that the reason asserted is

mere pretext for unlawful retaliation. Hurtt, 627 Fed. App’x at 419; Peden v. City

of Detroit, 470 Mich., 195, 205 (2004).

      1. Plaintiff Suffered An Adverse Employment Action

      A plaintiff suffers an adverse employment action where there is evidence

that the employee was “fired” or received “a less distinguished title, a material

loss of benefits, significantly diminished material responsibilities, or other

indices that might be unique to a particular situation.” Spees v. James Marine,

Inc., 617 F.3d 380, 391 (6th Cir. 2010). In this case, Plaintiff suffered adverse

employment actions that go beyond her firing. As outlined above, she was made to

work jobs that were outside of her restrictions, she was yelled at, forced to leave

the line to go to medical, made to do the jobs of multiple people without additional

pay, and sent home without pay on several occasions. Setting aside the fact that

Plaintiff was terminated, the ultimate adverse employment action, any of the other


                                          23
Case 2:20-cv-10218-NGE-MJH ECF No. 23, PageID.531 Filed 07/09/21 Page 30 of 32




harassment she suffered also qualifies. As such, there is a question of fact whether

Plaintiff suffered an adverse employment action beyond her firing.

      2. Plaintiff Engaged In Known Protected Activity

      Plaintiff complained verbally to human resources that her disability was not

being accommodated and that she was subject to harassment from Defendant Reed.

She submitted written statements, grievances, and an EEOC complaint alleging

discrimination based on her disability throughout her employment.

      3. Defendant’s Actions Were Pretext

      There is no justification that has been given for the horrendous treatment

Plaintiff suffered outside of her firing. In fact, Defendant Reed specifically told

Plaintiff that she would not be able to work if she sought restrictions. Further,

when Plaintiff was able to work within her resitrictions, she had not issues

whatsoever. There can be no justification for the treatment she suffered at the

hands of Defendant Reed and, indeed, Defendant FCA does not justify it in its

Motion.

      Further, Plaintiff’s termination is pretext.     Plaintiff did not alter the

information on the medical form.         Defendant’s full investigation included

interviewing Plaintiff, who denied the charge. Defendant FCA did not even check

to see where the fax originated from. A simple check if its machine or an inquiry

to Sedgwick would have shown that Plaintiff did not send the fax and, therefore,


                                         24
Case 2:20-cv-10218-NGE-MJH ECF No. 23, PageID.532 Filed 07/09/21 Page 31 of 32




did not falsify any information. It does not even make sense for Plaintiff to have

forged the documentation since she was working a job that was not demanding and

she had no reason not to wait for the doctor to update her forms. There is just

simply no reason why Plaintiff should have been fired. As such, there is a question

of fact whether Defendant’s proffered reason for terminating Plaintiff was pretext

and not because of her disability or in retaliation for her complaints of

discrimination.

                               IV. CONCLUSION

      For the reasons set forth above, Plaintiff respectfully requests that this

honorable Court deny Defendant FCA’s motion in its entirety.

                                             Respectfully submitted,

                                             /s/ Stephen M. Lovell
                                             Stephen M. Lovell (P80921)
                                             Attorneys for Plaintiff
                                             645 Griswold Street, Ste. 4100
                                             Detroit, Michigan 48226
                                             (313) 965-5555 /f (313)965-5556
                                             stephen@ecllawfirm.com

July 9, 2021




                                        25
Case 2:20-cv-10218-NGE-MJH ECF No. 23, PageID.533 Filed 07/09/21 Page 32 of 32




                       CERTIFICATE OF SERVICE
            I hereby certify that on July 9, 2021, I presented the
            foregoing paper to the above listed attorneys of record
            via electronic filing.

                              /s/ Deanna Denby
                                 Deanna Denby




                                      26
